CaseCase: 21-40548   Document:
     4:17-cr-00094-MAC-CAN     00516028259
                           Document  61 FiledPage: 1 Date
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                                                                  PageID #: 266




               United States Court of Appeals
                    for the Fifth Circuit
                                      ___________
                                                                       United States Court of Appeals
                                       No. 21-40548                             Fifth Circuit


                                      ___________                             FILED
                                                                   September 24, 2021
       United States of America,                                         Lyle W. Cayce
                                                                              Clerk
                                                                Plaintiff—Appellee,

                                           versus

       Andrew Greer,

                                                 Defendant—Appellant.
                         ____________________________

                        Appeal from the United States District Court
                             for the Eastern District of Texas
                                  USDC No. 4:17-CR-94-1
                         ____________________________

       CLERK’S OFFICE:
              Under 5th Cir. R. 42.3, the appeal is dismissed as of September
       24, 2021, for want of prosecution. The appellant failed to timely pay
       docketing fee.
  CaseCase: 21-40548   Document:
       4:17-cr-00094-MAC-CAN     00516028259
                             Document  61 FiledPage: 2 Date
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                                                                    PageID #: 267
                                              No. 21-40548




                                                        LYLE W. CAYCE
                                                        Clerk of the United States Court
                                                        of Appeals for the Fifth Circuit


                                               By: _________________________
                                                      Dawn M. Shulin, Deputy Clerk

                                  ENTERED AT THE DIRECTION OF THE COURT




A True Copy
Certified order issued Sep 24, 2021


Clerk, U.S. Court of Appeals, Fifth Circuit




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